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                                                                      FILED
                 IN THE UNITED STATES DISTRICT COURT                      OC" 2 0 2015
                     FOR THE DISTRICT OF MONTANA
                                                                     Cfer~. U.S. District Court
                            BUTTE DIVISION                              DJstnct Of Montana
                                                                             Missoula




 UNITED STATES OF AMERICA,                         CR 14-27-BU-DLC
                    Plaintiff,
                                                          ORDER
        vs.


RAMKAMATH,


                    Defendant.


      The United States has moved to dismiss Count One of the Superseding

Indictment as to defendant Ram Kamath without prejudice because the defendant,

who does not oppose the motion, has entered into a deferred prosecution

agreement with the United States.

      For good cause shown, IT IS HEREBY ORDERED that the United States'

motion to dismiss is GRANTED, and Count One of the Superseding Indictment is

dismissed as to defendant Ram Kamath without prejudice.
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Dated this 2.0~day of October, 201 .




                             Dana L. Christensen, Chief J
                             United States District Court




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